                                            Case 3:21-md-02996-CRB Document 211 Filed 08/16/21 Page 1 of 5




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                                   5                           IN THE UNITED STATES DISTRICT COURT
                                   6                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                   7
                                            IN RE: MCKINSEY & CO., INC.
                                   8                                                      Case No. 21-md-02996-CRB (SK)
                                            NATIONAL PRESCRIPTION OPIATE
                                   9        CONSULTANT LITIGATION
                                                                                          PRETRIAL ORDER NO. 2: ORDER
                                  10                                                      APPOINTING PLAINTIFFS’ LEAD
                                            This Order Relates to:                        COUNSEL AND PLAINTIFFS’
                                  11                                                      STEERING COMMITTEE
                                  12        ALL ACTIONS
Northern District of California
 United States District Court




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                                  14            On July 29, 2021, the Court invited counsel for the various plaintiffs in this matter
                                  15   to apply for a Plaintiffs’ Steering Committee (“PSC”) or Lead Counsel position. Order re
                                  16   Plaintiff Leadership Applications (dkt. 158). The Court received a total of twenty-six
                                  17   applications and three responses. Having carefully considered them, the Court orders as
                                  18   follows.
                                  19   I.       LEAD COUNSEL
                                  20            The Court appoints Elizabeth J. Cabraser of Lieff Cabraser Heimann & Bernstein,
                                  21   LLP as Plaintiffs’ Lead Counsel and as Chair of the PSC. Ms. Cabraser has extensive
                                  22   experience with multi-district litigation, has held leadership positions in several different
                                  23   MDLs, including as a member of the Plaintiffs’ Executive Committee (“PEC”) in In re
                                  24   National Prescription Opiate Litigation, MDL No. 2804 (N.D. Ohio), and has the support
                                  25   of several of her fellow counsel in this MDL. The Court has first-hand knowledge of Ms.
                                  26   Cabraser’s leadership abilities, having worked with her in her role as Lead Counsel and
                                  27   Chair of the PSC in Volkswagen “Clean Diesel”, MDL No. 2672 (N.D. Cal.) and as a
                                  28   member of the PSC in In re Bextra and Celebrex Marketing, Sales Practices, and Products
                                         Case 3:21-md-02996-CRB Document 211 Filed 08/16/21 Page 2 of 5




                                   1   Liability Litigation, MDL No. 1699 (N.D. Cal.). These experiences give the Court
                                   2   confidence that Ms. Cabraser will effectively represent and guide the plaintiffs toward a
                                   3   resolution that is in their best interests.
                                   4             The Court vests Ms. Cabraser, as Lead Counsel and PSC Chair, with the authority
                                   5   and duty to coordinate and oversee the PSC responsibilities set forth below; to schedule
                                   6   PSC meetings and keep minutes or transcripts of these meetings; to appear at periodic
                                   7   Court-noticed status conferences and hearings; to sign and file all pleadings that relate to
                                   8   all actions; and to bind the PSC in scheduling settlement discussions and discovery, setting
                                   9   agendas, entering into stipulations, and in other necessary interactions with any other
                                  10   relevant parties. Ms. Cabraser shall also have the authority to retain the services of any
                                  11   attorney not part of the PSC to perform any common benefit work, provided the attorney
                                  12   so consents and is bound by the PSC’s compensation structure. She shall perform other
Northern District of California
 United States District Court




                                  13   necessary PSC administrative and logistic functions and carry out any other duty as the
                                  14   Court may order.
                                  15             Lead Counsel shall also do the following:
                                  16         • Establish and maintain a depository for orders, pleadings, hearing transcripts, and
                                  17             all documents served upon plaintiffs’ counsel, and make such papers available to
                                  18             plaintiffs’ counsel upon reasonable request.
                                  19         •   Maintain, in conjunction with their accountant, records of receipts and
                                  20             disbursements advanced by PSC members and received by the PSC and report in
                                  21             writing to the PSC concerning disbursements and receipts.
                                  22         • Designate counsel to schedule depositions, set agendas and otherwise interact with
                                  23             defense counsel, various plaintiffs’ counsel, and any other relevant parties.
                                  24   II.       PLAINTIFFS’ STEERING COMMITTEE
                                  25             The Court appoints the following attorneys as members of the PSC:
                                  26             Chair
                                  27
                                                 Elizabeth J. Cabraser
                                  28             Lieff Cabraser Heimann & Bernstein, LLP
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                                       Case 3:21-md-02996-CRB Document 211 Filed 08/16/21 Page 3 of 5




                                          Embarcadero Center West
                                   1
                                          275 Battery Street, 29th Floor
                                   2      San Francisco, CA 94111-3339
                                   3      NAS Children
                                   4
                                          Scott R. Bickford
                                   5      Martzell, Bickford & Centola, APC
                                          338 Lafayette Street
                                   6
                                          New Orleans, LA 70130
                                   7
                                          Independent School Districts
                                   8
                                          Cyrus Mehri
                                   9      Mehri & Skalet, PLLC
                                          1250 Connecticut Avenue NW
                                  10      Washington, D.C. 20036
                                  11
                                          Indian Tribes
                                  12
Northern District of California
 United States District Court




                                          Lloyd B. Miller
                                  13
                                          Sonosky, Chambers, Sachse,
                                  14      Miller & Monkman, LLP
                                          725 East Fireweed Lane
                                  15      Anchorage, AK 99503
                                  16
                                          Third Party Payors
                                  17
                                          James Dugan
                                  18
                                          The Dugan Law Firm, LLC
                                  19      365 Canal Street, Ste 1000
                                          New Orleans, LA 70130
                                  20

                                  21      Political Sub-Divisions

                                  22      Aelish M. Baig
                                          Robbins Geller Rudman & Dowd, LLP
                                  23      One Montgomery Street, Ste 1800
                                  24      San Francisco, CA 94104

                                  25      Emily Roark
                                  26
                                          Bryant Law Center, PSC
                                          601 Washington Street, P.O. Box 1876
                                  27      Paducah, KY 42002-1876
                                  28
                                                                              3
                                         Case 3:21-md-02996-CRB Document 211 Filed 08/16/21 Page 4 of 5




                                              Jayne Conroy
                                   1
                                              Simmons Hanly Conroy, LLC
                                   2          112 Madison Avenue, 7th Floor
                                              New York, NY 10016
                                   3

                                   4          Joe Rice
                                              Motley Rice, LLC
                                   5          28 Bridgeside Boulevard
                                              Mt. Pleasant, SC 29464
                                   6

                                   7          Matthew Browne
                                              Browne Pelican, PLLC
                                   8          7007 Shook Avenue
                                   9          Dallas, TX 75214

                                  10
                                              The PSC appointments are personal to the individual attorney appointed. While the
                                  11
                                       Court has considered PSC members’ resources and expects that they will draw upon their
                                  12
Northern District of California




                                       firms and co-counsel to assist them with their duties, each member is personally
 United States District Court




                                  13
                                       responsible for his or her duties. The Court may add or replace members upon request
                                  14
                                       from the PSC, or on its own motion, if and as circumstances warrant.
                                  15
                                              It is intended and expected by this Order that—as to all matters common to the
                                  16
                                       coordinated cases, and to the fullest extent consistent with the independent fiduciary
                                  17
                                       obligations owed by any and all plaintiffs’ counsel to their clients and any putative class—
                                  18
                                       pretrial proceedings shall be conducted by and through the PSC.
                                  19
                                              The PSC is responsible for creating its own structure, including establishing
                                  20
                                       subcommittees, subject to the Court’s approval. The Court recognizes that changes to the
                                  21
                                       PSC’s organization may be necessary as the litigation progresses and new details emerge.
                                  22
                                              All time keepers carrying out work for the plaintiffs’ common benefit, including
                                  23
                                       PSC members, who may look to any common fund or agreement for reimbursement or
                                  24
                                       compensation shall maintain detailed and contemporaneous time records. The Court will
                                  25
                                       issue a subsequent Order regarding the guidelines and rules for work done and expenses
                                  26
                                       incurred for the common benefit of all plaintiffs in this MDL.
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                                         Case 3:21-md-02996-CRB Document 211 Filed 08/16/21 Page 5 of 5



                                       III.   CASE MANGEMENT CONFERENCE
                                   1
                                              As discussed at the July 29, 2021 status conference, Lead Counsel and the PSC
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                                       shall meet and confer with McKinsey as to:
                                   3
                                              • The process and schedule for briefing the effect of the settlement agreements for
                                   4
                                                 plaintiffs that McKinsey contends are bound by the settlements.
                                   5
                                              • The process and schedule going forward for plaintiffs that McKinsey does not
                                   6
                                                 contend are bound by the settlements.
                                   7
                                              • The status of the discovery that McKinsey has produced in In re National
                                   8
                                                 Prescription Opiate Litigation, MDL No. 2804 (N.D. Ohio) and has or will
                                   9
                                                 produce to the Attorneys General in connection with the settlements, including
                                  10
                                                 the timeline for producing the discovery in this action.
                                  11
                                              The parties shall file a joint written submission on August 31, 2021 advising the
                                  12
Northern District of California




                                       Court of their determinations on these subjects. The Court will hold a case management
 United States District Court




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                                       conference on September 2, 2021 via Zoom Webinar regarding the submission and any
                                  14
                                       other matters that the Court deems appropriate.
                                  15

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                                              IT IS SO ORDERED.
                                  17
                                              Dated: August 16, 2021
                                  18                                                     CHARLES R. BREYER
                                                                                         United States District Judge
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